                   Case 15-43379                  Doc 1      Filed 12/29/15 Entered 12/29/15 09:30:42                           Desc Main
 Fill in this information to identify your case:               Document     Page 1 of 64
 United States Bankruptcy Court for the:

       Northern          District of:     Illinois
                                        (State)

 Case number (if known)                                   Chapter you are filing under:

                                                                 Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                                                                                      Check if this is an
                                                                 Chapter 13                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case —and in joint cases, these forms useyou to ask for information from both debtors. For example, if a form asks, "Do you own a car, "the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of
the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:   Identify Yourself
                                  About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name                  Cynthia
                                  First name                                                        First name
    Write the name that is on       G.
    your government-issued
                                  Middle name                                                      Middle name
    picture identification (for
    example, your driver's          Molette
    license or passport           Last name                                                        Last name

    Bring your picture
    identification to your meeting Suffix (Sr., Jr., II, III)                                      Suffix (Sr., Jr., II, III)
    with the trustee.

 2. All other names you
    have used in the last First name                                                                First name
    8 years
                          Middle name                                                              Middle name
    Include your married or
    maiden names.
                                  Last name                                                        Last name

                                  First name                                                        First name

                                  Middle name                                                      Middle name

                                  Last name                                                        Last name

 3. Only the last 4 digits
                                   xxx - xx-              7167                                       xxx - xx-
    of your Social
    Security number or             OR                                                                OR
    federal Individual
                                   9 xx - xx-                                                        9 xx - xx-
    Taxpayer
    Identification
    number (ITIN)


    Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                               page 1
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                                                                                                      known)                            Desc Main
         First Name                     Middle Name                Last Name
                                                             Document        Page 2 of 64
                            About Debtor 1:                                                           About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names              I have not used any business names or EINs.                               I have not used any business names or EINs.
  and Employer
  Identification
                        Business name                                                                 Business name
  Numbers (EIN) you
  have used in the last
  8 years               Business name                                                                 Business name

  Include trade names and
  doing business as names


5. Where you live                                                                                      If Debtor 2 lives at a different address:
                                                  5001 W. St. Paul 2nd Floor
                            Number                Street                                              Number                Street


                            Chicago                        Illinois            60639
                            City                           State               Zip Code               City                           State               Zip Code

                            Cook
                            County                                                                    County
                            If your mailing address is different from the one above, fill             If Debtor 2’s mailing address is different from yours, fill it in
                            it in here. Note that the court will send any notices to you at this      here. Note that the court will send any notices to this mailing
                            mailing address.                                                          address.


                            Number                Street                                              Number                Street




                            City                           State               Zip Code               City                           State               Zip Code

6. Why you are
                            Check one:                                                                Check one:
  choosing this
  district to file for             Over the last 180 days before filing this petition, I have lived          Over the last 180 days before filing this petition, I have lived
  bankruptcy                       in this district longer than in any other district.                       in this district longer than in any other district.

                                   I have another reason. Explain. (See 28 U.S.C. §§ 1408.)                  I have another reason. Explain. (See 28 U.S.C. §§ 1408.)




   Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                                page 2
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                                                                                  Case number (if09:30:42
                                                                                                  known)                         Desc Main
         First Name                  Middle Name               Last Name
                                                         Document        Page 3 of 64
Part 2: Tell the Court About Your Bankruptcy Case

7. The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
   Bankruptcy Code         B2010)). Also, go to the top of page 1 and check the appropriate box.
   you are choosing to
                               Chapter 7
   fileunder
                               Chapter 11
                               Chapter 12
                               Chapter 13


8. How you will pay the
                               I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
   fee                         court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                               pay with cash, cashier's check, or money order... If your attorney is submitting your payment on your
                               behalf, your attorney may pay with a credit card or check with a pre-printed address.

                               I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                               Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                               I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By
                               law, a judge may, but is not required to, waive your fee, and may do so only if your income is less than
                               150% of the official poverty line that applies to your family size and you are unable to pay the fee in
                               installments). If you choose this option, you must fill out the Application to Have the Chapter 7 Filing
                               Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for
                               No.
   bankruptcy within
   the last 8 years?           Yes. District                                             When                        Case number
                                                                                                 MM / DD / YYYY
                                     District                                            When                        Case number
                                                                                                 MM / DD / YYYY
                                     District                                            When                        Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy
                               No.
   cases pending or
   being filed by a            Yes. District                                                                         Relationship to you
   spouse who is not                 District                                            When                        Case number, if known
   filing this case with                                                                         MM / DD / YYYY
   you, or by a                      District                                                                        Relationship to you
   business partner, or
                                     District                                            When                        Case number, if known
   by an affiliate?                                                                              MM / DD / YYYY


11. Do you rent your
                               No. Go to line 12.
   residence?
                               Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                           No. Go to line 12.

                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                   this bankruptcy petition.




   Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                        page 3
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                                                                                                     known)                           Desc Main
          First Name                    Middle Name               Last Name
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Part 3:   Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole
                                     No.      Go to Part 4.
   proprietor of any
   full- or part-time                Yes. Name and location of business
   business?

   A sole proprietorship is                   Name of business, if any
   a business you
   operate as an                              Number                              Street
   individual, and is not a
   separate legal entity
   such as a corporation,
   partnership, or LLC.

   If you have more than                      City                                         State                             Zip Code
   one sole
   proprietorship, use a                      Check the appropriate box to describe your business:
   separate sheet and
   attach it to this                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
   petition.                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above


13. Are you filing under      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate deadlines.
   Chapter 11 of the          If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of operations, cash-flow
   Bankruptcy Code            statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 11 16(1)(B).
   and are you a small
   business debtor?
                                     No.      I am not filing under Chapter 11.
   For a definition of
                                     No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
   small business debtor,
                                              Bankruptcy Code.
   see 11 U.S.C. §
   101(51D).                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.

Part 4:   Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have
                                     No.
   any property that
   poses or is alleged               Yes. What is the hazard?
   to pose a threat of
   imminent and
   identifiable hazard
   to public health or                       If immediate attention is needed, why is it needed?
   safety? Or do you
   own any property
   that needs
   immediate attention?
                                             Where is the property?
   For example, do you                                                Number                       Street
   own perishable goods,
   or livestock that must
   be fed, or a building
   that needs urgent
   repairs?                                                           City                                   State                          Zip Code




   Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4
Debtor 1 Cynthia Case 15-43379         G.Doc 1           Filed 12/29/15
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                                                                                                    known)                           Desc Main
          First Name                   Middle Name               Last Name
                                                           Document        Page 5 of 64
Part 5:   Explain Your Efforts to Receive a Briefing About Credit Counseling

                             About Debtor 1:                                                          About Debtor 2 (Spouse Only in a Joint Case):


15. Tell the court           You must check one:                                                      You must check one:
   whether you have
                                 I received a briefing from an approved credit                            I received a briefing from an approved credit
   received briefing             counseling agency within the 180 days before I filed this                counseling agency within the 180 days before I filed this
   about credit                  bankruptcy petition, and I received a certificate of                     bankruptcy petition, and I received a certificate of
   counseling.                   completion.                                                              completion.

   The law requires that         Attach a copy of the certificate and the payment plan, if any,           Attach a copy of the certificate and the payment plan, if any,
                                 that you developed with the agency.                                      that you developed with the agency.
   you receive a briefing
   about credit                  I received a briefing from an approved credit                            I received a briefing from an approved credit
   counseling before you         counseling agency within the 180 days before I filed this                counseling agency within the 180 days before I filed this
   file for bankruptcy.          bankruptcy petition, but I do not have a certificate of                  bankruptcy petition, but I do not have a certificate of
                                 completion.                                                              completion.
   You must truthfully
   check one of the              Within 14 days after you file this bankruptcy petition,                  Within 14 days after you file this bankruptcy petition,
   following choices. If         you MUST file a copy of the certificate and payment                      you MUST file a copy of the certificate and payment
   you cannot do so,             plan, if any.                                                            plan, if any.
   you are not eligible to       I certify that I asked for credit counseling services from               I certify that I asked for credit counseling services from
   file.                         an approved agency, but was unable to obtain those                       an approved agency, but was unable to obtain those
                                 services during the 7 days after I made my request, and                  services during the 7 days after I made my request, and
   If you file anyway,           exigent circumstances merit a 30-day temporary waiver                    exigent circumstances merit a 30-day temporary waiver
   the court can dismiss         of the requirement.                                                      of the requirement.
   your case, you will
                                 To ask for a 30-day temporary waiver of the requirement,                 To ask for a 30-day temporary waiver of the requirement,
   lose whatever filing          attach a separate sheet explaining what efforts you made to              attach a separate sheet explaining what efforts you made to
   fee you paid, and             obtain the briefing, why you were unable to obtain it before you         obtain the briefing, why you were unable to obtain it before you
   your creditors can            filed for bankruptcy, and what exigent circumstances required            filed for bankruptcy, and what exigent circumstances required
   begin collection              you to file this case.                                                   you to file this case.
   activities again.             Your case may be dismissed if the court is dissatisfied with             Your case may be dismissed if the court is dissatisfied with
                                 your reasons for not receiving a briefing before you filed for           your reasons for not receiving a briefing before you filed for
                                 bankruptcy.                                                              bankruptcy.

                                 If the court is satisfied with your reasons, you must still              If the court is satisfied with your reasons, you must still
                                 receive a briefing within 30 days after you file. You must file a        receive a briefing within 30 days after you file. You must file a
                                 certificate from the approved agency, along with a copy of the           certificate from the approved agency, along with a copy of the
                                 payment plan you developed, if any. If you do not do so, your            payment plan you developed, if any. If you do not do so, your
                                 case may be dismissed.                                                   case may be dismissed.

                                 Any extension of the 30-day deadline is granted only for cause           Any extension of the 30-day deadline is granted only for cause
                                 and is limited to a maximum of 15 days.                                  and is limited to a maximum of 15 days.

                                 I am not required to receive a briefing about credit                     I am not required to receive a briefing about credit
                                 counseling because of:                                                   counseling because of:

                                     Incapacity.        I have a mental illness or a mental                   Incapacity.        I have a mental illness or a mental
                                                        deficiency that makes me incapable of                                    deficiency that makes me incapable of
                                                        realizing or making rational decisions                                   realizing or making rational decisions
                                                        about finances.                                                          about finances.
                                     Disability.        My physical disability causes me to be                Disability.        My physical disability causes me to be
                                                        unable to participate in a briefing in                                   unable to participate in a briefing in
                                                        person, by phone, or through the                                         person, by phone, or through the
                                                        internet, even after I reasonably tried to                               internet, even after I reasonably tried to
                                                        do so.                                                                   do so.
                                     Active duty.       I am currently on active military duty in a           Active duty.      I am currently on active military duty in a
                                                        military combat zone.                                                   military combat zone.
                                 If you believe you are not required to receive a briefing about          If you believe you are not required to receive a briefing about
                                 credit counseling, you must file a motion for waiver of credit           credit counseling, you must file a motion for waiver of credit
                                 counseling with the court.                                               counseling with the court.




   Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                               page 5
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                                                                                                   known)                           Desc Main
          First Name                  Middle Name               Last Name
                                                          Document        Page 6 of 64
Part 6: Answer These Questions for Reporting Purposes

16. What kind of debts
                             16.a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
                                  as "incurred by an individual primarily for a personal, family, or household purpose."
   do you have?
                                      No. Go to line 16b.
                                      Yes. Go to line 17.
                             16.b Are your debts primarily business debts? Business debts are debts that you incurred to
                                  obtain money for a business or investment or through the operation of the business or
                                  investment.
                                      No. Go to line 16c.
                                        Yes. Go to line 17.
                             16c. State the type of debts you owe that are not consumer debts or business debts.


17. Are you filing under
                                 No. I am not filing under Chapter 7. Go to line 18.
   Chapter 7?
   Do you estimate that          Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
   after any exempt                    paid that funds will be available to distribute to unsecured creditors?
   property is excluded
                                           No.
   and administrative
   expenses are paid that                  Yes.
   funds will be available
   for distribution to
   unsecured creditors?

18. How many creditors           1-49                                           1,000-5,000                                   25,001-50,000
   do you estimate that          50-99                                          5,001-10,000                                  50,001-100,000
   you owe?                      100-199                                        10,001-25,000                                 More than 100,000
                                 200-999

19. How much do you              $0-$50,000                                     $1,000,001-$10 million                        $500,000,001-$1 billion
   estimate your assets          $50,001-$100,000                               $10,000,001-$50 million                       $1,000,000,001-$10 billion
   to be worth?                  $100,001-$500,000                              $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                 $500,001-$1 million                            $100,000,001-$500 million                     More than $50 billion

20. How much do you              $0-$50,000                                     $1,000,001-$10 million                        $500,000,001-$1 billion
   estimate your                 $50,001-$100,000                               $10,000,001-$50 million                       $1,000,000,001-$10 billion
   liabilities to be?            $100,001-$500,000                              $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                 $500,001-$1 million                            $100,000,001-$500 million                     More than $50 billion
Part 7:   Sign Below
                             I have examined this petition, and I declare under penalty of perjury that the information provided is true
For you
                             and correct.
                             If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12,
                             or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                             proceed under Chapter 7.
                             If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                             fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                             I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                             I understand making a false statement, concealing property, or obtaining money or property by fraud in
                             connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                             or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                             û        /s/ Cynthia Molette
                                   Signature of Debtor 1
                                                                                                    û      Signature of Debtor 2

                                   Executed on           12/29/2015                                        Executed on
                                                            MM / DD / YYYY                                                         MM / DD / YYYY




   Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                         page 6
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For your attorney, if     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
you are represented by    eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
one                       relief available under each chapter for which the person is eligible. I also certify that I have delivered to the
                          debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify
If you are not            that I have no knowledge after an inquiry that the information in the schedules filed with the petition is
represented by an         incorrect.

                          û
attorney, you do not
need to file this page.           /s/ Stephen Gregorowicz 6304770                           Date             12/29/2015
                               Signature of Attorney for Debtor                                            MM / DD / YYYY



                               Stephen Gregorowicz 6304770
                               Printed name

                               Semrad Law Firm
                               Firm name


                               Number                                 Street




                               City                                               State                                Zip Code

                               Contact phone                                                       Email address



                               Bar number                                                           State




   Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                page 7
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                       Case 15-43379                          Doc 1             Filed 12/29/15 Entered 12/29/15 09:30:42                                             Desc Main
 Fill in this information to identify your case:                                 Document     Page 13 of 64
 Debtor 1             Cynthia                                        G.                                   Molette
                      First Name                                     Middle Name                          Last Name
 Debtor 2
 (Spouse, if filing) First Name                                      Middle Name                          Last Name

 United States Bankruptcy Court for the:                  Northern                               District of Illinois
                                                                                                             (State)
 Case number
 (If known)

                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:      Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                             $0.00
    1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................

                                                                                                                                                                             $6,325.00
    1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                            $6,325.00
    1c. Copy line 63, Total of all property on Schedule A/B.......................................................................................


 Part 2:      Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                             $13,343.00
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                                 $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................

                                                                                                                                                                             $3,494.00
    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                                         Your total liabilities             $16,837.00



 Part 3:      Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                             $1,301.38
    Copy your combined monthly income from line 12 of Schedule I.........................................................................


 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                             $1,001.00
    Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1
Debtor 1 Cynthia   Case 15-43379                 Doc 1
                                                G.                Filed 12/29/15
                                                                          Molette    Entered 12/29/15
                                                                                             Case number (if09:30:42
                                                                                                             known)                          Desc Main
            First Name                          Middle Name               Last Name
                                                                   Document         Page 14 of 64
Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes.

7. What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.


8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                       $574.65
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim


      From Part 4 on Schedule E/F, copy the following:


      9a. Domestic support obligations (Copy line 6a.)                                                                 $0.00


      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


      9d. Student loans. (Copy line 6f.)                                                                               $0.00


      9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
      priority claims. (Copy line 6g.)

                                                                                                                       $0.00
      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


      9g. Total. Add lines 9a through 9f.                                                                             $0.00




     Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
                     Case 15-43379                   Doc 1         Filed 12/29/15 Entered 12/29/15 09:30:42                            Desc Main
 Fill in this information to identify your case:                    Document     Page 15 of 64
 Debtor 1            Cynthia                              G.                          Molette
                     First Name                           Middle Name                 Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name                 Last Name

 United States Bankruptcy Court for the:           Northern                    District of Illinois
                                                                                           (State)
 Case number
 (If known)

                                                                                                                                                    Check if this is an
Official Form 106A/B                                                                                                                                amended filing

Schedule A/B: Property                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:      Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
              No. Go to Part 2
              Yes. Where is the property?
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
    1.1                                                                 Single-family home                            the amount of any secured claims on Schedule D:
              Street address, if available, or other description                                                      Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                    Current value of the      Current value of the
                                                                                                                      entire property?          portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
              Number         Street
                                                                        Investment property                           Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                        Timeshare
              City                State             Zip Code            Other                                         the entireties, or a life estate), if known.


                                                                    Who has an interest in the property? Check one.
                                                                                                                          Check if this is community property
                                                                        Debtor 1 only                                     (see instructions)
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
    1.2                                                                 Single-family home                            the amount of any secured claims on Schedule D:
              Street address, if available, or other description                                                      Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                    Current value of the      Current value of the
                                                                                                                      entire property?          portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
              Number         Street
                                                                        Investment property                           Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                        Timeshare
              City                State             Zip Code            Other                                         the entireties, or a life estate), if known.


                                                                    Who has an interest in the property? Check one.
                                                                                                                          Check if this is community property
                                                                        Debtor 1 only                                     (see instructions)
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:

   Official Form 106A/B                                                        Schedule A/B: Property                                                       page 1
 Debtor 1 Cynthia      Case 15-43379                     G.Doc 1           Filed 12/29/15
                                                                                       Molette     Entered 12/29/15 Case number (if09:30:42
                                                                                                                                    known)          Desc Main
                First Name                               Middle Name                   Last Name
                                                                            Document             Page       16   of
                                                                          What is the property? Check all that apply.
                                                                                                                      64           Do not deduct secured claims or exemptions. Put
 1.3                                                                           Single-family home                                                   the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                                           Creditors Who Have Claims Secured by Property.
                                                                               Duplex or multi-unit building
                                                                               Condominium or cooperative                                           Current value of the      Current value of the
                                                                                                                                                    entire property?          portion you own?
                                                                               Manufactured or mobile home
                                                                               Land
       Number                Street
                                                                               Investment property                                                  Describe the nature of your ownership
                                                                                                                                                    interest (such as fee simple, tenancy by
                                                                               Timeshare
       City                      State              Zip Code                   Other                                                                the entireties, or a life estate), if known.


                                                                          Who has an interest in the property? Check one.
                                                                                                                                                          Check if this is community property
                                                                               Debtor 1 only                                                              (see instructions)
                                                                               Debtor 2 only
                                                                               Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another

                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here. ................................................................................................... ▶




Part 2:     Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
          No
          Yes
       3.1 Make                                    Chevrolet                   Who has an interest in the property? Check                           Do not deduct secured claims or exemptions. Put
           Model:                                  Trailblazer                 one.                                                                 the amount of any secured claims on Schedule D:
           Year:                                   2007                              Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
           Approximate mileage:
                                                                                     Debtor 2 only                                                  Current value of the      Current value of the
                Other information:                                                   Debtor 1 and Debtor 2 only                                     entire property?          portion you own?
                                                                                                                                                    $5475.00                  $5475.00
                                                                                     At least one of the debtors and another

                                                                                     Check if this is community property (see
                                                                                     instructions)
       3.2 Make                                                                Who has an interest in the property? Check                           Do not deduct secured claims or exemptions. Put
           Model:                                                              one.                                                                 the amount of any secured claims on Schedule D:
           Year:                                                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                      Debtor 2 only                                                  Current value of the      Current value of the
                Other information:                                                   Debtor 1 and Debtor 2 only                                     entire property?          portion you own?
                                                                                     At least one of the debtors and another
                                                                                     Check if this is community property (see
                                                                                     instructions)




   Official Form 106A/B                                                                      Schedule A/B: Property                                                                        page 2
Debtor 1 Cynthia       Case 15-43379                     G. Doc 1            Filed 12/29/15
                                                                                      Molette        Entered 12/29/15
                                                                                                                  Case number (if09:30:42
                                                                                                                                  known)          Desc Main
              First Name                                  Middle Name                 Last Name
       3.3 Make
                                                                              Document            Page      17  of 64
                                                                               Who has an interest in the property? Check        Do not deduct secured claims or exemptions. Put
           Model:                                                               one.                                                                the amount of any secured claims on Schedule D:
           Year:                                                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                      Debtor 2 only                                                  Current value of the    Current value of the
              Other information:                                                     Debtor 1 and Debtor 2 only                                     entire property?        portion you own?
                                                                                     At least one of the debtors and another
                                                                                     Check if this is community property (see
                                                                                     instructions)

       3.4 Make                                                                 Who has an interest in the property? Check                          Do not deduct secured claims or exemptions. Put
           Model:                                                               one.                                                                the amount of any secured claims on Schedule D:
           Year:                                                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                      Debtor 2 only                                                  Current value of the    Current value of the
              Other information:                                                     Debtor 1 and Debtor 2 only                                     entire property?        portion you own?
                                                                                     At least one of the debtors and another
                                                                                     Check if this is community property (see
                                                                                     instructions)

4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

             No
             Yes

       4.1 Make                                                                 Who has an interest in the property? Check                          Do not deduct secured claims or exemptions. Put
           Model:                                                               one.                                                                the amount of any secured claims on Schedule D:
           Year:                                                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                      Debtor 2 only                                                  Current value of the    Current value of the
              Other information:                                                     Debtor 1 and Debtor 2 only                                     entire property?        portion you own?
                                                                                     At least one of the debtors and another
                                                                                     Check if this is community property (see
                                                                                     instructions)

       4.2 Make                                                                 Who has an interest in the property? Check                          Do not deduct secured claims or exemptions. Put
           Model:                                                               one.                                                                the amount of any secured claims on Schedule D:
           Year:                                                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                      Debtor 2 only                                                  Current value of the    Current value of the
              Other information:                                                     Debtor 1 and Debtor 2 only                                     entire property?        portion you own?
                                                                                     At least one of the debtors and another
                                                                                     Check if this is community property (see
                                                                                     instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                        $5475.00
    you have attached for Part 2. Write that number here ................................................................................................... ▶




    Official Form 106A/B                                                                     Schedule A/B: Property                                                                    page 3
Debtor 1 Cynthia       Case 15-43379                        G.Doc 1              Filed 12/29/15
                                                                                         Molette    Entered 12/29/15
                                                                                                            Case number (if09:30:42
                                                                                                                            known)                                      Desc Main
             First Name                                     Middle Name                  Last Name
                                                                                  Document         Page 18 of 64
Part 3:     Describe Your Personal and Household Items
                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                  portion you own?
                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                   or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe...            Furniture                                                                                                                           $500.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No
    Yes. Describe...


 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
    Yes. Describe...


 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
    No
    Yes. Describe...


 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe...            Clothing                                                                                                                            $350.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    No
    Yes. Describe...


 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
    No
    Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list

    No
    Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                     $850.00
 for Part 3. Write that number here .......................................................................................................................... ▶




  Official Form 106A/B                                                                            Schedule A/B: Property                                                                   page 4
Debtor 1 Cynthia     Case 15-43379                                G.Doc 1                 Filed 12/29/15
                                                                                                  Molette    Entered 12/29/15
                                                                                                                     Case number (if09:30:42
                                                                                                                                     known)                                       Desc Main
          First Name                                              Middle Name                     Last Name
                                                                                           Document         Page 19 of 64
Part 4:   Describe Your Financial Assets
                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                                                        portion you own?
                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                   or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
          Yes ....................................................................................................
                                                                                                                                        Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
                                                                                                     Institution name:
          Yes


                                            17.1. Checking account:                                  pre paid debit card                                                           $0.00

                                            17.2. Checking account:

                                            17.3. Savings account:

                                            17.4. Savings account:

                                            17.5. Certificates of deposit:

                                            17.6. Other financial account:

                                            17.7. Other financial account:

                                            17.8. Other financial account:

                                            17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
                                            Institution or issuer name:
          Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
          No
                                            Name of entity                                                                               % of ownership:
          Yes. Give specific
          information about
          them




  Official Form 106A/B                                                                                         Schedule A/B: Property                                                               page 5
Debtor 1 Cynthia    Case 15-43379                Doc 1
                                                G.            Filed 12/29/15
                                                                      Molette    Entered 12/29/15
                                                                                         Case number (if09:30:42
                                                                                                         known)                   Desc Main
          First Name                            Middle Name           Last Name
                                                               Document         Page 20 of 64
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about     Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                                Type of account:                    Institution name:
          Yes. List each
          account separately.   401(k) or similar plan:

                                Pension plan:

                                IRA:

                                Retirement account:

                                Keogh:

                                Additional account:

                                Additional account:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
          No
                                                                    Institution name:
          Yes....
                                Electric:

                                Gas:

                                Heating oil:

                                Security deposit on rental unit:

                                Prepaid rent:

                                Telephone:

                                Water:

                                Rented furniture:

                                Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                                Issuer name and description:
          Yes....




  Official Form 106A/B                                                    Schedule A/B: Property                                              page 6
Debtor 1 Cynthia    Case 15-43379                Doc 1
                                                G.      Filed 12/29/15
                                                                    Molette    Entered 12/29/15
                                                                                             Case number (if09:30:42
                                                                                                             known)         Desc Main
          First Name                            Middle Name         Last Name
24.
                                                          Document            Page    21   of 64
      Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
                       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
          Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit

          No
          Yes. Describe...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Describe...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Describe...


Money or property owed to you?                                                                                                                 Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
28. Tax refunds owed to you

          No
         Yes. Give specific information                                                                                 Federal:
              about them, including whether
                                                                                                                        State:
              you already filed the returns
              and the tax years..............                                                                           Local:
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
                                                                                                                        Alimony:
         Yes. Give specific information......
                                                                                                                        Maintenance:

                                                                                                                        Support:

                                                                                                                        Divorce settlement:

                                                                                                                        Property settlement:
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else

          No
         Yes. Describe...




  Official Form 106A/B                                                      Schedule A/B: Property                                                             page 7
Debtor 1 Cynthia      Case 15-43379                      G.Doc 1            Filed 12/29/15
                                                                                    Molette    Entered 12/29/15
                                                                                                       Case number (if09:30:42
                                                                                                                       known)                                   Desc Main
             First Name                                  Middle Name                Last Name
31. Interests in insurance policies
                                                                             Document         Page 22 of 64
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

            No
                                                                         Company name:                                                           Beneficiary:         Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.

            No
            Yes. Describe...

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

            No
            Yes. Describe...

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims

            No
            Yes. Describe...

35. Any financial assets you did not already list

            No
            Yes. Describe...


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                       ▶
    for Part 4. Write that number here ................................................................................................................▶




Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.                                                                                                                                    Current value of the
                                                                                                                                                                 portion you own?
            Yes. Go to line 38.                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                 or exemptions
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe...

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

            No
            Yes. Describe...




  Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 8
  Debtor 1 Cynthia        Case 15-43379                          G.Doc 1
                                                           Filed 12/29/15
                                                                      Molette       Entered 12/29/15
                                                                                                Case number (if09:30:42
                                                                                                                known)                                                                      Desc Main
                First Name                                       Middle Name
                                                                      Last Name
 40.
                                                             Document             Page     23
         Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
                                                                                               of 64
               No
               Yes. Describe...

 41. Inventory

               No
               Yes. Describe...

 42. Interests in partnerships or joint ventures

               No
                                                                                  Name of entity:                                                                   % of ownership:
               Yes. Give specific
               information about
               them



 43. Customer lists, mailing lists, or other compilations

               No
               Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                            No
                            Yes. Describe........

 44. Any business-related property you did not already list

               No
               Yes. Give specific
               information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here .................................................................................................................................................... ▶

 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

                No. Go to Part 7.                                                                                                                                                                Current value of the
                                                                                                                                                                                                 portion you own?
                Yes. Go to line 47.                                                                                                                                                              Do not deduct secured
                                                                                                                                                                                                 claims
                                                                                                                                                                                                 or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish

                No
                Yes. Describe...




    Official Form 106A/B                                                                                 Schedule A/B: Property                                                                           page 9
  Debtor 1 Cynthia        Case 15-43379                           G. Doc 1              Filed 12/29/15
                                                                                                Molette    Entered 12/29/15
                                                                                                                   Case number (if09:30:42
                                                                                                                                   known)                                               Desc Main
                First Name                                        Middle Name                   Last Name
 48.     Crops-either growing or harvested
                                                                                         Document         Page 24 of 64
               No
               Yes. Describe...

 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

               No
               Yes. Describe...

 50.     Farm and fishing supplies, chemicals, and feed

               No
               Yes. Describe...

 51.     Any farm- and commercial fishing-related property you did not already list
         Examples: Livestock, poultry, farm-raised fish

               No
               Yes. Describe...


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                    ▶
for Part 6. Write that number here .................................................................................................................................▶




 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

               No
               Yes. Give specific
               information




                                                                                                                                                               ▶
54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................▶




 Part 8:       List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................▶

 56. part 2 total vehicles, line 5                                                                             $5475.00
 57.Part 3: Total personal and household items, line 15                                                        $850.00
 58.Part 4: Total financial assets, line 36

 59. Part 5: Total business-related property, line 45

 60. Part 6: Total farm- and fishing-related property, line 52

 61. Part 7: Total other property not listed, line 54

 62. Total personal property. Add lines 56 through 61. ....................                                    $6325.00
                                                                                                                                                              Copy personal property total ▶

                                                                                                                                                                                                $6325.00
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................




    Official Form 106A/B                                                                                    Schedule A/B: Property                                                                  page 10
                       Case 15-43379                 Doc 1       Filed 12/29/15 Entered 12/29/15 09:30:42                            Desc Main
 Fill in this information to identify your case:                  Document     Page 25 of 64
 Debtor 1              Cynthia                            G.                           Molette
                       First Name                         Middle Name                  Last Name
 Debtor 2
(Spouse, if filing) First Name                            Middle Name                  Last Name

 United States Bankruptcy Court for the:           Northern                     District of Illinois
                                                                                            (State)
 Case number
(If known)

                                                                                                                                                      Check if this is an
Official Form 106C                                                                                                                                    amended filing

Schedule C: The Property You Claim as Exempt                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you
claim as exempt. If more space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On
the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Part 1:      Identify the Property You Claim as Exempt
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
             You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
             You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and line Current value of                Amount of the exemption you claim           Specific laws that allow exemption
        on Schedule A/B that lists this property   the portion you
                                                   own                             Check only one box for each exemption.

                                                          Copy the value from
                                                          Schedule A/B

        Brief                                                                                                                        735 ILCS 5/12-1001(a), (e)
        description:      Clothing                            $350.00
                                                                                                           $350.00
        Line from
                                                                                        100% of fair market value, up to any
        Schedule A/B:          11
                                                                                        applicable statutory limit
        Brief                                                                                                                          735 ILCS 5/12-1001(b)
        description:      Furniture                           $500.00
                                                                                                           $500.00
        Line from
                                                                                        100% of fair market value, up to any
        Schedule A/B:          06
                                                                                        applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $155,675?
       (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes




      Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                          page 1
                     Case 15-43379                   Doc 1         Filed 12/29/15 Entered 12/29/15 09:30:42                                  Desc Main
Fill in this information to identify your case:                     Document     Page 26 of 64
Debtor 1             Cynthia                               G.                           Molette
                     First Name                            Middle Name                  Last Name
Debtor 2
(Spouse, if filing) First Name                             Middle Name                  Last Name

United States Bankruptcy Court for the:           Northern                       District of Illinois
                                                                                             (State)
Case number
(If known)

                                                                                                                                                              Check if this is an
Official Form 106D                                                                                                                                            amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this
form. On the top of any additional pages, write your name and case number (if known).
1.    Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.

Part 1:      List All Secured Claims
2.    List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each Column A                 Column B                Column C
      claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as       Amount of claim          Value of collateral     Unsecured
      possible, list the claims in alphabetical order according to the creditor's name.                             Do not deduct the        that supports this      portion
                                                                                                                    value of collateral.     claim                   If any
2.1 Santander Consumer USA                                                                                               $13,343.00               $0.00              $13,343.00
      Creditor's Name                                 Describe the property that secures the claim:
      PO Box 961245
                                                     073 Automobile
          Number                Street
                                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
      Fort Worth          Texas          76161            Unliquidated
          City               State       ZIP Code
      Who owes the debt? Check one.                       Disputed

             Debtor 1 only                            Nature of lien. Check all that apply.
             Debtor 2 only                                An agreement you made (such as mortgage or secured
             Debtor 1 and Debtor 2 only                   car loan)
           At least one of the debtors and                Statutory lien (such as tax lien, mechanic's lien)
           another                                        Judgment lien from a lawsuit
          Check if this claim relates to a                Other (including a right to offset)
          community debt
      Date debt was incurred      3/1/2013            Last 4 digits of account number                   1000

                   Add the dollar value of your entries in Column A on this page. Write that number                      $13,343.00
                   here:




     Official Form 106D                                    Schedule D: Creditors Who Have Claims Secured by Property                                               page 1
                     Case 15-43379                   Doc 1       Filed 12/29/15 Entered 12/29/15 09:30:42                                   Desc Main
 Fill in this information to identify your case:                  Document     Page 27 of 64
 Debtor 1            Cynthia                              G.                        Molette
                     First Name                           Middle Name               Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name               Last Name

 United States Bankruptcy Court for the:           Northern                  District of Illinois
                                                                                         (State)
 Case number
 (If known)

                                                                                                                                                Check if this is an amended filing
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).
 Part 1:      List All of Your PRIORITY Unsecured Claims
 1.      Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
              Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
        identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
        possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
        Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                         Total claim Priority        Nonpriority
                                                                                                                                                     amount          amount




      Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1
Debtor 1 Cynthia     Case 15-43379               G.Doc 1          Filed 12/29/15
                                                                          Molette    Entered 12/29/15
                                                                                             Case number (if09:30:42
                                                                                                             known)                             Desc Main
             First Name                          Middle Name              Last Name
                                                                   Document         Page 28 of 64
Part 2:     List All of Your NONPRIORITY Unsecured Claims
3.      Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes.
4.      List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one priority
        unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1.
        If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims fill out the Continuation Page of
        Part 2.
                                                                                                                                                                Total claim
4.1 Capital One                                                                    Last 4 digits of account number             6618                                  $673.00
    Nonpriority Creditor's Name
    Po Box 30281                                                                    When was the debt incurred?             8/1/2013
    Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       Salt Lake City          Utah                            84130
                                                                                        Unliquidated
       City                    State                           Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only                                                          Type of NONPRIORITY unsecured claim:
            Debtor 2 only                                                               Student loans
            Debtor 1 and Debtor 2 only                                                  Obligations arising out of a separation agreement or divorce that
            At least one of the debtors and another                                     you did not report as priority claims
            Check if this claim relates to a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   Other. Specify
            No
            Yes
4.2 CAPITAL ONE BANK USA N                                                         Last 4 digits of account number                                                   $673.00
    Nonpriority Creditor's Name
    PO BOX 85520                                                                    When was the debt incurred?             8/1/2013
    Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       RICHMOND                Virginia                        23285
                                                                                        Unliquidated
       City                    State                           Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only                                                          Type of NONPRIORITY unsecured claim:
            Debtor 2 only                                                               Student loans
            Debtor 1 and Debtor 2 only                                                  Obligations arising out of a separation agreement or divorce that
            At least one of the debtors and another                                     you did not report as priority claims
            Check if this claim relates to a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   Other. Specify
            No
            Yes
4.3 CCB/HSN                                                                        Last 4 digits of account number             7839                                  $502.00
    Nonpriority Creditor's Name
    PO BOX 182120                                                                   When was the debt incurred?             6/1/2013
    Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       COLUMBUS                Ohio                            43218
                                                                                        Unliquidated
       City                    State                           Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only                                                          Type of NONPRIORITY unsecured claim:
            Debtor 2 only                                                               Student loans
            Debtor 1 and Debtor 2 only                                                  Obligations arising out of a separation agreement or divorce that
            At least one of the debtors and another                                     you did not report as priority claims
            Check if this claim relates to a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   Other. Specify
            No
            Yes

     Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2
Debtor 1 CynthiaCase 15-43379                Doc 1
                                            G.               Filed 12/29/15
                                                                     Molette    Entered 12/29/15
                                                                                        Case number (if09:30:42
                                                                                                        known)                        Desc Main
         First Name                         Middle Name              Last Name
                                                              Document         Page 29 of 64
Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page
    After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim
4.4 City of Chicago Department of Revenue                                  Last 4 digits of account number                                             $260.00
    Nonpriority Creditor's Name
    121 North LaSalle Street                                               When was the debt incurred?               n/a
    Number        Street
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                               Contingent
    Chicago                 Illinois                      60602
                                                                               Unliquidated
    City                    State                         Zip Code
    Who incurred the debt? Check one.                                          Disputed
         Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
        Debtor 2 only                                                          Student loans
        Debtor 1 and Debtor 2 only                                             Obligations arising out of a separation agreement or divorce that
        At least one of the debtors and another                                you did not report as priority claims
        Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar debts
    Is the claim subject to offset?                                             Other. Specify
        No
        Yes
4.5 COMENITY CAPITAL/HSN                                                   Last 4 digits of account number                                             $502.00
    Nonpriority Creditor's Name
    995 W 122ND AVE                                                        When was the debt incurred?            6/1/2013
    Number        Street
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                               Contingent
    WESTMINSTER             Colorado                      80234
                                                                               Unliquidated
    City                    State                         Zip Code
    Who incurred the debt? Check one.                                          Disputed
         Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
        Debtor 2 only                                                          Student loans
        Debtor 1 and Debtor 2 only                                             Obligations arising out of a separation agreement or divorce that
        At least one of the debtors and another                                you did not report as priority claims
        Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar debts
    Is the claim subject to offset?                                             Other. Specify
        No
        Yes
4.6 DSNB MACYS                                                             Last 4 digits of account number           4131                               $4.00
    Nonpriority Creditor's Name
    9111 Duke Blvd                                                         When was the debt incurred?            12/1/2013
    Number        Street
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                               Contingent
    Mason                   Ohio                          45040
                                                                               Unliquidated
    City                    State                         Zip Code
    Who incurred the debt? Check one.                                          Disputed
         Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
        Debtor 2 only                                                          Student loans
        Debtor 1 and Debtor 2 only                                             Obligations arising out of a separation agreement or divorce that
        At least one of the debtors and another                                you did not report as priority claims
        Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar debts
    Is the claim subject to offset?                                             Other. Specify
        No
        Yes




 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3
Debtor 1 CynthiaCase 15-43379                Doc 1
                                            G.               Filed 12/29/15
                                                                     Molette    Entered 12/29/15
                                                                                        Case number (if09:30:42
                                                                                                        known)                        Desc Main
         First Name                         Middle Name              Last Name
                                                              Document         Page 30 of 64
Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page
    After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim
4.7 ENHANCED RECOVERY CO L                                                 Last 4 digits of account number           9086                               $66.00
    Nonpriority Creditor's Name
    8014 BAYBERRY RD                                                       When was the debt incurred?            8/1/2015
    Number        Street
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                               Contingent
    JACKSONVILLE            Florida                       32256
                                                                               Unliquidated
    City                    State                         Zip Code
    Who incurred the debt? Check one.                                          Disputed
         Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
        Debtor 2 only                                                          Student loans
        Debtor 1 and Debtor 2 only                                             Obligations arising out of a separation agreement or divorce that
        At least one of the debtors and another                                you did not report as priority claims
        Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar debts
    Is the claim subject to offset?                                             Other. Specify
        No
        Yes
4.8 PEOPLES ENGY                                                           Last 4 digits of account number           5539                              $814.00
    Nonpriority Creditor's Name
    200 EAST RANDOLPH                                                      When was the debt incurred?            8/1/2009
    Number        Street
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                               Contingent
    CHICAGO                 Illinois                      60601
                                                                               Unliquidated
    City                    State                         Zip Code
    Who incurred the debt? Check one.                                          Disputed
         Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
        Debtor 2 only                                                          Student loans
        Debtor 1 and Debtor 2 only                                             Obligations arising out of a separation agreement or divorce that
        At least one of the debtors and another                                you did not report as priority claims
        Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar debts
    Is the claim subject to offset?                                             Other. Specify
        No
        Yes




 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4
Debtor 1 Cynthia    Case 15-43379              Doc 1
                                              G.               Filed 12/29/15
                                                                       Molette    Entered 12/29/15
                                                                                          Case number (if09:30:42
                                                                                                          known)               Desc Main
             First Name                       Middle Name              Last Name
                                                                Document         Page 31 of 64
Part 4: Add the Amounts for Each Type of Unsecured Claim
6.
       Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
       Add the amounts for each type of unsecured claim.


                                                                                               Total claims

                                                                                                     $0.00
Total claims          6a. Domestic support obligations.                                  6a.
from Part 1
                      6b. Taxes and certain other debts you owe the                      6b.         $0.00


                      6c. Claims for death or personal injury while you were intoxicated 6c.         $0.00


                      6d. Other. Add all other priority unsecured claims. Write that     6d.         $0.00
                          amount here.


                      6e. Total. Add lines 6a through 6d.                                6e.         $0.00


                                                                                               Total claims

                                                                                                     $0.00
Total claims          6f. Student loans                                                  6f.
from Part 2
                      6g. Obligations arising out of a separation agreement or divorce 6g.           $0.00
                          that you did not report as priority claims


                      6h. Debts to pension or profit-sharing plans, and other similar    6h.         $0.00
                          debts


                      6i. Other. Add all other nonpriority unsecured claims. Write that 6i.        $3,494.00
                          amount here.


                      6j. Total. Add lines 6f through 6i.                                6j.       $3,494.00




     Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 page 5
                    Case 15-43379                    Doc 1        Filed 12/29/15 Entered 12/29/15 09:30:42                                   Desc Main
 Fill in this information to identify your case:                   Document     Page 32 of 64
 Debtor 1           Cynthia                               G.                        Molette
                    First Name                            Middle Name               Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name               Last Name

 United States Bankruptcy Court for the:           Northern                  District of Illinois
                                                                                         (State)
 Case number
 (If known)

                                                                                                                                                               Check if this is an
Official Form 106G                                                                                                                                             amended filing


Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).
 1. Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
    vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.


          Person or company with whom you have the contract or lease                                             State what the contract or lease is for




    Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                                              page 1
                      Case 15-43379                  Doc 1         Filed 12/29/15 Entered 12/29/15 09:30:42                                         Desc Main
 Fill in this information to identify your case:                    Document     Page 33 of 64
 Debtor 1             Cynthia                              G.                           Molette
                      First Name                           Middle Name                  Last Name
 Debtor 2
 (Spouse, if filing) First Name                            Middle Name                  Last Name

 United States Bankruptcy Court for the:           Northern                      District of Illinois
                                                                                             (State)
 Case number
 (If known)

                                                                                                                                                                    Check if this is an
                                                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
              No
              Yes

 2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
       Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
              No. Go to line 3.
              Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                    No
                    Yes. In which community state or territory did you live?                                 Fill in the name and current address of that person.


                      Name of your spouse, former spouse, or legal equivalent

                      Number      Street

                      City                                         State                          Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again
    as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F
    (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                  Check all schedules that apply:




      Official Form 106H                                                       Schedule H: Your Codebtors                                                            page 1
                     Case 15-43379
Fill in this information to identify your case:
                                                Doc 1         Filed 12/29/15 Entered 12/29/15 09:30:42                                    Desc Main
                                                               Document     Page 34 of 64
Debtor 1           Cynthia                           G.                          Molette
                   First Name                        Middle Name                 Last Name
                                                                                                                           Check if this is:
Debtor 2
(Spouse, if filing) First Name                       Middle Name                 Last Name                                     An amended filing
                                                                                                                               A supplement showing post-petition chapter 13
United States Bankruptcy Court for the:     Northern                      District of Illinois                                 expenses as of the following date:
                                                                                      (State)
Case number
(If known)                                                                                                                     MM / DD / YYYY


Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include
information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

Part 1: Describe Employment


        1. Fill in your employment                                           Debtor 1                                         Debtor 2
           information.
                                            Employment status                   Employed                                         Employed
             If you have more than one
             job,                                                               Not Employed                                     Not Employed
             attach a separate page with
             information about additional   Occupation                      Welfare Provider
             employers.
                                            Employer's name                 Eric Family Services Inc
             Include part time, seasonal,
                                            Employer's address              1900 North Austin Blvd Suite 205
             or                                                              Number Street                                    Number Street
             self-employed work.

             Occupation may include
             student
             or homemaker, if it applies.
                                                                            Chicago               Illinois   60639
                                                                            City                  State      Zip Code         City                  State    Zip Code

                                                                            6 months
                                            How long employed there?


Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
 are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space, attach
 a separate sheet to this form.
                                                                                                    For Debtor 1              For Debtor 2 or
                                                                                                                              non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll                   2.                $1,549.17
     deductions.) If not paid monthly, calculate what the monthly wage would be.
  3. Estimate and list monthly overtime pay.                                                 3.                  + $0.00

  4. Calculate gross income. Add line 2 + line 3.                                            4.                $1,549.17




 Official Form 106I                                                   Schedule I: Your Income                                                                page 1
Debtor 1 Cynthia   Case 15-43379             G. Doc 1         Filed 12/29/15
                                                                      Molette    Entered 12/29/15    09:30:42
                                                                                         Case number (if known)                        Desc Main
          First Name                         Middle Name       Document
                                                                      Last Name Page 35 of 64

                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
  Copy line 4 here                                                                     4.                 $1,549.17
  ➔
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                                   5a.                  $341.79
   5b. Mandatory contributions for retirement plans                                    5b.                     $0.00
   5c. Voluntary contributions for retirement plans                                    5c.                     $0.00
   5d. Required repayments of retirement fund loans                                    5d.                     $0.00
   5e. Insurance                                                                       5e.                     $0.00
   5f. Domestic support obligations                                                    5f.                     $0.00
   5g. Union dues                                                                      5g.                     $0.00
   5h. Other deductions. Specify:                                                      5h. +                   $0.00 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.          6.                   $341.79

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                 7.                 $1,207.38

8. List all other income regularly received:
   8a. Net income from rental property and from operating a business,
       profession, or farm
       Attach a statement for each property and business showing gross
       receipts, ordinary and necessary business expenses, and the total
       monthly net income.                                                             8a.                     $0.00
   8b. Interest and dividends                                                          8b.                     $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance, divorce
       settlement, and property settlement.                                            8c.                     $0.00
   8d. Unemployment compensation                                                       8d.                     $0.00
   8e. Social Security                                                                 8e.                     $0.00
   8f. Other government assistance that you regularly receive
      Include cash assistance and the value (if known) of any non-cash
      assistance that you receive, such as food stamps (benefits under the
      Supplemental Nutrition Assistance Program) or housing subsidies
      Specify: Food Assistance Programs                                                8f.                    $94.00
   8g. Pension or retirement income                                                    8g.                     $0.00
   8h. Other monthly income. Specify:                                                  8h. +                   $0.00 +

9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                9.                     $94.00

10.Calculate monthly income. Add line 7 + line 9.                                      10.                 $1,301.38 +                         =              $1,301.38
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends or
   relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

   Specify: Voluntary Household Contributions                                                                                                  11. +              $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                          12.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                              $1,301.38

                                                                                                                                                       Combined
                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




 Official Form 106I                                                   Schedule I: Your Income                                                            page 2
                    Case 15-43379                    Doc 1         Filed 12/29/15 Entered 12/29/15 09:30:42                            Desc Main
 Fill in this information to identify your case:                    Document     Page 36 of 64
 Debtor 1           Cynthia                               G.                             Molette
                    First Name                            Middle Name                    Last Name
 Debtor 2                                                                                                         Check if this is:
 (Spouse, if filing) First Name                           Middle Name                    Last Name                    An amended filing

 United States Bankruptcy Court for the:           Northern                       District of Illinois                A supplement showing post-petition chapter 13
                                                                                              (State)                 expenses as of the following date:
 Case number
 (If known)
                                                                                                                      MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:       Describe Your Household
 1. Is this a joint case?

          No. Go to line 2

          Yes. Does Debtor 2 live in a separate household?

                     No

                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                 No
   Do not list Debtor 1 and                 Yes. Fill out this information for      Dependent's relationship to      Dependent's          Does dependent live
   Debtor 2.                                each dependent                          Debtor 1 or Debtor 2             age                  with you?
 3. Do your expenses include
    expenses of people other                No
    than
                                            Yes
    yourself and your
    dependents?

Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                            Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                              $650.00
      any rent for the ground or lot. 4.                                                                                                    4.
      If not included in line 4:
     4a. Real estate taxes                                                                                                                 4a                         $0.00
     4b. Property, homeowner's, or renter's insurance                                                                                      4b.                        $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                                     4c.                        $0.00
     4d. Homeowner's association or condominium dues                                                                                       4d.                        $0.00




    Official Form 106J                                                           Schedule J: Your Expenses                                                 page 1
Debtor 1 Cynthia  Case 15-43379               G.Doc 1         Filed 12/29/15
                                                                      Molette    Entered 12/29/15
                                                                                         Case number (if09:30:42
                                                                                                         known)    Desc Main
           First Name                         Middle Name             Last Name
                                                               Document         Page 37 of 64
                                                                                                                               Your expenses

5. Additional mortgage payments for your residence, such as home equity loans                                         5.                    $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                 6a.                  $40.00
   6b. Water, sewer, garbage collection                                                                               6b.                   $0.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                 6c.                  $38.00
   6d. Other. Specify:                                                                                                6d                    $0.00
7. Food and housekeeping supplies                                                                                     7.                  $100.00
8. Childcare and children's education costs                                                                           8.                    $0.00
9. Clothing, laundry, and dry cleaning                                                                                9.                   $15.00
10. Personal care products and services                                                                               10.                   $0.00
11. Medical and dental expenses                                                                                       11.                  $20.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                           $60.00
     Do not include car payments                                                                                      12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                13.                   $0.00
14. Charitable contributions and religious donations                                                                  14.                   $0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                15a                   $0.00
   15b. Health insurance                                                                                              15b                   $0.00
   15c. Vehicle insurance                                                                                             15c                  $78.00
   15d. Other insurance. Specify:                                                                                     15d                   $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                 $0.00
                                                                                                                      16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                    17a                   $0.00
   17b. Car payments for Vehicle 2                                                                                    17b                   $0.00
   17c. Other. Specify:                                                                                               17c                   $0.00
   17d. Other. Specify:                                                                                               17d                   $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                             $0.00
     your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                           19.                   $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                   20a                   $0.00
   20b. Real estate taxes 20b.                                                                                        20b                   $0.00
   20c. Property, homeowner's, or renter's insurance                                                                  20c                   $0.00
   20d. Maintenance, repair, and upkeep expenses 20d.                                                                 20d                   $0.00
   20e. Homeowner's association or condominium dues                                                                   20e                   $0.00




   Official Form 106J                                                   Schedule J: Your Expenses                                page 2
Debtor 1 Cynthia Case 15-43379                Doc 1
                                             G.             Filed 12/29/15
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                                                                                       Case number (if09:30:42
                                                                                                       known)      Desc Main
          First Name                         Middle Name            Last Name
21.Other. Specify:
                                                             Document         Page 38 of 64                                               $0.00
                                                                                                                  21


22. Calculate your monthly expenses.                                                                                               $1,001.00
   22a. Add lines 4 through 21.                                                                                                           $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                            $1,001.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                               22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a               $1,301.38
   23b. Copy your monthly expenses from line 22 above.                                                           23b               $1,001.00
   23c. Subtract your monthly expenses from your monthly income.                                                                        $300.38
         The result is your monthly net income.                                                                  23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        No

        Yes

                     Explain here:




   Official Form 106J                                                  Schedule J: Your Expenses                               page 3
                     Case 15-43379                   Doc 1      Filed 12/29/15 Entered 12/29/15 09:30:42                                Desc Main
 Fill in this information to identify your case:                 Document     Page 39 of 64
 Debtor 1            Cynthia                              G.                      Molette
                     First Name                           Middle Name             Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name             Last Name

 United States Bankruptcy Court for the:           Northern                District of Illinois
                                                                                       (State)
 Case number
 (If known)

                                                                                                                                                    Check if this is an
Official Form 106Dec                                                                                                                                amended filing

Declaration About an Individual Debtor's Schedules                                                                                                               12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


 Part 1:      Sign Below

      Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

              No

              Yes. Name of person                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                  Signature (Official Form 119).




      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

 û Signature
    /s/ Cynthia Molette
             of Debtor 1
                                                                                         û Signature of Debtor 2
     Date 12/29/2015                                                                          Date
          MM/DD/YYYY                                                                                 MM/DD/YYYY




  Official Form 106Dec                                        Declaration About an Individual Debtor's Schedules                                     page 1
                      Case 15-43379                  Doc 1         Filed 12/29/15 Entered 12/29/15 09:30:42                              Desc Main
 Fill in this information to identify your case:                    Document     Page 40 of 64
 Debtor 1             Cynthia                             G.                           Molette
                      First Name                          Middle Name                  Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name                  Last Name

 United States Bankruptcy Court for the:           Northern                     District of Illinois
                                                                                            (State)
 Case number
 (If known)

                                                                                                                                                        Check if this is an
Official Form 107                                                                                                                                       amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:      Give Details About Your Marital Status and Where You Lived Before

 1.      What is your current marital status?

               Married
               Not married

 2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


               Debtor 1:                                              Dates Debtor 1 lived             Debtor 2:                              Dates Debtor 2 lived
                                                                      there                                                                   there

                                                                                                              Same as Debtor 1                     Same as Debtor 1


                                                                      From                                                                    From
               Number Street                                                                           Number Street
                                                                      To                                                                      To


               City                State             Zip Code                                          City                State   Zip Code
                                                                                                              Same as Debtor 1                     Same as Debtor 1


                                                                      From                                                                    From
               Number Street                                                                           Number Street
                                                                      To                                                                      To


               City                State             Zip Code                                          City                State   Zip Code

 3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and
      territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

              No
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




      Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
Debtor 1 Cynthia    Case 15-43379             G. Doc 1        Filed 12/29/15
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                                                                                         Case number (if09:30:42
                                                                                                         known)                            Desc Main
            First Name                        Middle Name             Last Name
                                                               Document         Page 41 of 64
Part 2:    Explain the Sources of Your Income
4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time
      activities. If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
            No
            Yes. Fill in the details.

                                                      Debtor 1                                                     Debtor 2


                                                      Sources of income               Gross income                 Sources of income                Gross income
                                                      Check all that apply.           (before deductions and       Check all that apply.            (before deductions and
                                                                                      exclusions)                                                   exclusions)

                                                            Wages, commissions,             $11738.61                   Wages, commissions,
          From January 1 of current year until              bonuses, tips                                               bonuses, tips
          the date you filed for bankruptcy:
                                                            Operating a business                                        Operating a business

                                                            Wages, commissions,             $15000.00                   Wages, commissions,
          For last calendar year:                           bonuses, tips                                               bonuses, tips
          (January 1 to December 31,    2014  )
                                                            Operating a business                                        Operating a business
                                         YYYY
                                                            Wages, commissions,             $20000.00                   Wages, commissions,
          For last calendar year:                           bonuses, tips                                               bonuses, tips
          (January 1 to December 31,    2013  )
                                                            Operating a business                                        Operating a business
                                         YYYY

5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public
   benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case
   and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                       Debtor 1                                                     Debtor 2


                                                       Sources of income               Gross income from            Sources of income               Gross income from
                                                       Describe below.                 each source                  Describe below.                 each source
                                                                                       (before deductions and                                       (before deductions and
                                                                                       exclusions)                                                  exclusions)


          From January 1 of current year until
          the date you filed for bankruptcy:


          For last calendar year:
          (January 1 to December 31,    2014  )
                                         YYYY

          For last calendar year:
          (January 1 to December 31,    2013  )
                                         YYYY




     Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
Debtor 1 Cynthia     Case 15-43379                G.Doc 1         Filed 12/29/15
                                                                          Molette    Entered 12/29/15
                                                                                             Case number (if09:30:42
                                                                                                             known)                            Desc Main
           First Name                             Middle Name             Last Name
                                                                   Document         Page 42 of 64
Part 3:   List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily
              for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                             that creditor. Do not include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                       Dates of payment          Total amount paid            Amount you still owe   Was this payment for...
                                                                                                                                                         Mortgage
           Creditor's Name
                                                                                                                                                         Car
           Number       Street                                                                                                                           Credit card
                                                                                                                                                         Loan repayment
                                                                                                                                                         Suppliers or
           City                     State              Zip Code                                                                                          vendors
                                                                                                                                                         Other
                                                                                                                                                         Mortgage
           Creditor's Name
                                                                                                                                                         Car
           Number       Street                                                                                                                           Credit card
                                                                                                                                                         Loan repayment
                                                                                                                                                         Suppliers or
           City                     State              Zip Code                                                                                          vendors
                                                                                                                                                         Other
                                                                                                                                                         Mortgage
           Creditor's Name
                                                                                                                                                         Car
           Number       Street                                                                                                                           Credit card
                                                                                                                                                         Loan repayment
                                                                                                                                                         Suppliers or
           City                     State              Zip Code                                                                                          vendors
                                                                                                                                                         Other




   Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
Debtor 1 Cynthia   Case 15-43379                    Doc 1
                                                   G.             Filed 12/29/15
                                                                          Molette    Entered 12/29/15
                                                                                             Case number (if09:30:42
                                                                                                             known)                       Desc Main
           First Name                              Middle Name            Last Name
                                                                   Document         Page 43 of 64
7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No
           Yes. List all payments to an insider.
                                                                   Dates of         Total amount paid Amount you still    Reason for this payment
                                                                   payment                            owe


          Insider's Name

          Number Street



          City                  State              Zip Code


          Insider's Name

          Number Street



          City                  State              Zip Code

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                                   Dates of         Total amount paid Amount you still    Reason for this payment
                                                                   payment                            owe
                                                                                                                          Include creditor's name


          Insider's Name

          Number Street



          City                  State              Zip Code


          Insider's Name

          Number Street



          City                  State              Zip Code




     Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 4
Debtor 1 Cynthia    Case 15-43379                    Doc 1
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                                                                            Molette    Entered 12/29/15
                                                                                               Case number (if09:30:42
                                                                                                               known)                        Desc Main
            First Name                              Middle Name             Last Name
                                                                     Document         Page 44 of 64
Part 4:    Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
      disputes.

           No
           Yes. Fill in the details.
                                                                  Nature of the case              Court or agency                                 Status of the case
             Case title                                                                                                                               Pending
                                                                                                  Court Name                                          On appeal
             Case number                                                                                                                              Concluded
                                                                                                  Number Street

                                                                                                  City              State         Zip Code
             Case title                                                                                                                               Pending
                                                                                                  Court Name                                          On appeal
             Case number                                                                                                                              Concluded
                                                                                                  Number Street

                                                                                                  City              State         Zip Code

10.     Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

             No. Go to line 11.
             Yes. Fill in the information below.
                                                                          Describe the property                                       Date               Value of the
                                                                                                                                                         property
                                                                          2007 Chevrolet Trailblazer                                  12/9/2015          $5400
             Santander Consumer US
             Creditor's Name
                                                                          Explain what happened
             14101 MYFORD RD FL 2
             Number Street

             TUSTIN                    California         92780               Property was repossessed.
             City                      State             Zip Code             Property was foreclosed.
                                                                              Property was garnished.
                                                                              Property was attached, seized, or levied.
                                                                          Describe the property                                       Date               Value of the
                                                                                                                                                         property


             Creditor's Name
                                                                          Explain what happened

             Number       Street
                                                                              Property was repossessed.
             City                      State             Zip Code             Property was foreclosed.
                                                                              Property was garnished.
                                                                              Property was attached, seized, or levied.




      Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Debtor 1 Cynthia    Case 15-43379                 G.   Doc 1       Filed 12/29/15
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                                                                                              Case number (if09:30:42
                                                                                                              known)                  Desc Main
            First Name                            Middle Name              Last Name
                                                                    Document         Page 45 of 64
11.    Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
       accounts or refuse to make a payment because you owed a debt?

            No
            Yes. Fill in the details.
                                                                         Describe the property                                 Date             Value of the
                                                                                                                                                property


             Creditor's Name

             Number       Street

                                                                         Last 4 digits of account number: XXXX-
             City                       State           Zip Code

12.    Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
       receiver, a custodian, or another official?

            No
            Yes

Part 5:    List Certain Gifts and Contributions

13.      Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

             No
             Yes. Fill in the details for each gift.
             Gifts with a total value of more than $600                  Describe the gifts                                    Dates you        Value
             per person                                                                                                        gave the gifts


             Person to Whom You Gave the Gift



             Number       Street

             City                       State           Zip Code
             Person's relationship to you


             Person to Whom You Gave the Gift



             Number       Street

             City                       State           Zip Code
             Person's relationship to you




      Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 6
Debtor 1 Cynthia    Case 15-43379                G.Doc 1          Filed 12/29/15
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                                                                                             Case number (if09:30:42
                                                                                                             known)                     Desc Main
            First Name                           Middle Name              Last Name
                                                                   Document         Page 46 of 64
14.     Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

            No
            Yes. Fill in the details for each gift or contribution.
             Gifts with a total value of more than $600                Describe the gifts                                         Dates you        Value
             per person                                                                                                           gave the gifts


             Charity’s Name



             Number       Street

             City                       State          Zip Code

Part 6:    List Certain Losses

15.    Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
       gambling?

            No
            Yes. Fill in the details.
             Describe the property you lost and                        Describe any insurance coverage for the loss               Date of your     Value of property lost
             how the loss occurred                                                                                                loss
                                                                       Include the amount that insurance has paid. List pending
                                                                       insurance claims on line 33 of Schedule A/B: Property.




Part 7:    List Certain Payments or Transfers

16.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
       seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
                                                                       Description and value of any property transferred          Date payment     Amount of payment
                                                                                                                                  or transfer
                                                                                                                                  was made
             Gregorowicz 6304770, Stephen                              - 400.00                                                   12/28/2015       $400.00
             Person Who Was Paid

             Number       Street



             City                       State          Zip Code

             Email or website address

             Person Who Made the Payment, if Not You


             Person Who Was Paid

             Number       Street



             City                       State          Zip Code

             Email or website address

             Person Who Made the Payment, if Not You




      Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
Debtor 1 Cynthia    Case 15-43379                Doc 1
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                                                                                           Case number (if09:30:42
                                                                                                           known)                       Desc Main
            First Name                          Middle Name             Last Name
                                                                 Document         Page 47 of 64
17.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help
       you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
                                                                      Description and value of any property transferred          Date payment      Amount of payment
                                                                                                                                 or transfer
                                                                                                                                 was made

             Person Who Was Paid

             Number       Street


             City                       State        Zip Code

18.    Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
       ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include gifts and
       transfers that you have already listed on this statement.

            No
            Yes. Fill in the details.
                                                                      Description and value of any              Describe any property or payments          Date transfer
                                                                      property transferred                      received or debts paid in exchange         was made
             Person Who Was Paid

             Number       Street


             City                   State            Zip Code
             Person's relationship to you
             Person Who Was Paid

             Number       Street


             City                   State            Zip Code
             Person's relationship to you

19.    Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
       (These are often called asset-protection devices.)

            No
            Yes. Fill in the details.
                                                                      Description and value of the property transferred                                    Date transfer
                                                                                                                                                           was made

             Name of trust




      Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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                                                                                                           known)                     Desc Main
            First Name                          Middle Name             Last Name
                                                                 Document         Page 48 of 64
Part 8:    List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.    Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
       or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
       cooperatives, associations, and other financial institutions.

            No
            Yes. Fill in the details.
                                                                        Last 4 digits of account       Type of account or                 Date account     Last balance
                                                                        number                         instrument                         was closed,      before closing
                                                                                                                                          sold, moved,     or transfer
                                                                                                                                          or transferred
            Chase Bank
                                                                        XXXX-0000                             Checking                    8/1/2015            $ 0.00
            Person Who Was Paid
                                                                                                              Savings
            P.O. Box 659732
            Number Street                                                                                     Money market

            San Antonio                 Texas         78265                                                   Brokerage
            City                        State        Zip Code                                                 Other

                                                                        XXXX-                                 Checking
            Person Who Was Paid
                                                                                                              Savings
             Number       Street                                                                              Money market
                                                                                                              Brokerage
             City                       State        Zip Code                                                 Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
    valuables?

            No
            Yes. Fill in the details.
                                                                 Who else had access to it?                       Describe the contents                    Do you still
                                                                                                                                                           have it?

             Name of Financial Institution                       Name                                                                                          No
                                                                                                                                                               Yes
             Number Street                                       Number         Street

             City                  State         Zip Code        City                    State     Zip Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
                                                                 Who else had access to it?                       Describe the contents                    Do you still
                                                                                                                                                           have it?

             Name of Storage Facility                            Name                                                                                          No
                                                                                                                                                               Yes
             Number Street                                       Number         Street

             City                  State         Zip Code        City                    State     Zip Code




      Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 9
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                                                                                                           known)                              Desc Main
            First Name                          Middle Name             Last Name
                                                                 Document         Page 49 of 64
Part 9:    Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

            No
            Yes. Fill in the details.
                                                                   Where is the property?                            Describe the contents                 Value


             Owner’s Name                                          Number Street

             Number Street                                         City               State          Zip Code


             City                  State          Zip Code

Part 10: Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
          hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
          including statutes or regulations controlling the cleanup of these substances, wastes, or material.

          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
          or used to own, operate, or utilize it, including disposal sites.

          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance,
          toxic substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
                                                                  Governmental unit                                  Environmental law, if you know it     Date of notice


             Name of site                                         Governmental unit

             Number Street                                         Number Street


             City                  State          Zip Code         City               State          Zip Code

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
                                                                  Governmental unit                                  Environmental law, if you know it     Date of notice


             Name of site                                         Governmental unit

             Number Street                                         Number Street


             City                  State          Zip Code         City               State          Zip Code




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                                                                                                            known)                          Desc Main
            First Name                           Middle Name             Last Name
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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
                                                                   Court or agency                                     Nature of the case                    Status of the
                                                                                                                                                             case

             Case title                                                                                                                                          Pending
                                                                   Court Name
                                                                                                                                                                 On appeal
                                                                   Number Street
                                                                                                                                                                 Concluded
             Case number                                           City                State           Zip Code

Part 11:    Give Details About Your Business or Connections to Any Business

27.    Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
                                                                          Describe the nature of the business                  Employer Identification number Do not
                                                                                                                               include Social Security number or ITIN.

                                                                                                                               EIN:
             Business Name


             Number       Street                                                                                               Dates business existed
                                                                          Name of accountant or bookkeeper

             City                       State         Zip Code                                                                 From             To




                                                                          Describe the nature of the business                  Employer Identification number Do not
                                                                                                                               include Social Security number or ITIN.

                                                                                                                               EIN:
             Business Name


             Number       Street                                                                                               Dates business existed
                                                                          Name of accountant or bookkeeper

             City                       State         Zip Code                                                                 From             To




                                                                          Describe the nature of the business                  Employer Identification number Do not
                                                                                                                               include Social Security number or ITIN.

                                                                                                                               EIN:
             Business Name


             Number       Street                                                                                               Dates business existed
                                                                          Name of accountant or bookkeeper

             City                       State         Zip Code                                                                 From             To




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28.    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
       creditors, or other parties.

            No
            Yes. Fill in the details below.
                                                                      Date issued

             Name                                                     MM/DD/YYYY


             Number       Street


             City                    State           Zip Code

Part 12: Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
      and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                    û        /s/ Cynthia Molette
                          Signature of Debtor 1
                                                                                              û    Signature of Debtor 2
                                                                                                   Date
                          Date 12/29/2015

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No
          Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No
           Yes. Name of person                                                                      Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                    Declaration, and Signature (Official Form 119).




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                                                                         Northern District of Illinois
In re                              Cynthia Molette                                                                        Case No.
                                         Debtor                                                                                                           (If known)

                                                                                                                          Chapter                      Chapter 13



                                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
        1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the abovenamed debtor(s) and that compensation paid to me within one
           year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
           in connection w ith the bankruptcy case is as follows:

             For legal services, I have agreed to accept                                                                                                                     $4,000.00

             Prior to the filing of this statement I have received                                                                                                             $400.00

             Balance Due                                                                                                                                                     $3,600.00

        2. The source of the compensation paid to me was:
                         Debtor                                           Other (specify)


        3. The source of the compensation paid to me is:
                         Debtor                                           Other (specify)

        4.        I have not agreed to share the above-disclosed compensation with any other person unless they are
                  members and associates of my law firm.

                  I have agreed to share the above-disclosed compensation with a other person or persons who are not
                  members or associates of my law firm. A copy of the agreement, together with a list of the names of
                  the people sharing in the compensation, is attached.

        5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

                  b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

                  d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

        6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                   CERTIFICATION


       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
   proceedings.



                        12/29/2015                                                                  /s/ Stephen Gregorowicz 6304770
                           Date                                                                            Signature of Attorney


                                                                                                             Semrad Law Firm
                                                                                                              Name of law firm
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In re:                  Molette, Cynthia G.
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                               Debtor(s)

                                                                         Chapter.                       Chapter13


                                              VERIFICATION OF CREDITOR MATRIX
         The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.




Date:             12/29/2015                                                  /s/ Molette, Cynthia G.
                                                                              Molette, Cynthia G.
                                                                              Signature of Debtor




                                                                          1
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200 EAST RANDOLPH                                Document     Page 64 of 64
CHICAGO, 60601


Capital One
Po Box 30281
Salt Lake City, 84130


CAPITAL ONE BANK USA N
PO BOX 85520
RICHMOND, 23285


CCB/HSN
PO BOX 182120
COLUMBUS, 43218


COMENITY CAPITAL/HSN
995 W 122ND AVE
WESTMINSTER, 80234


ENHANCED RECOVERY CO L
8014 BAYBERRY RD
JACKSONVILLE, 32256


DSNB MACYS
9111 Duke Blvd
Mason, 45040


City of Chicago Department of Revenue
121 North LaSalle Street
Chicago, 60602


Santander Consumer USA
PO Box 961245
Fort Worth, 76161
